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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UMOJA ERECTORS, LLC,                           :      CIVIL ACTION
             Plaintiff                         :
                                               :
              v.                               :
                                               :
D.A. NOLT, INC.,                               :
                      Defendant                :      NO. 20-5046



                                    NOTICE OF HEARING

       CLOSING ARGUMENT in a BENCH TRIAL is scheduled to be held on JUNE 22,

2023, at 1:30 p.m. in Courtroom 10B before the Honorable Gene E.K. Pratter, at 601 Market

Street, Philadelphia, PA 19106.




                                                      s/Michael Coyle
                                                      MICHAEL COYLE
                                                      Courtroom Deputy
                                                      to the Honorable Gene E.K. Pratter
                                                      United States District Court Judge




Date of Notice: May 12, 2023
Copies sent via ECF notification.
